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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNIVERSITY OF KANSAS HOSPITAL                        )
AUTHORITY, et al.,                                   )
                                                     )
                       Plaintiffs,                   )
                                                     )
v.                                                   )       Case No. 19-cv-00132-RMC
                                                     )
ALEX M. AZAR II, in his official capacity as         )
Secretary of Health and Human Services,              )
                                                     )
                       Defendant.                    )
                                                     )

            STIPULATION OF PARTIAL DISMISSAL WITHOUT PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), counsel for the following

Plaintiff Hospitals and counsel for the Secretary hereby stipulate to the dismissal, without

prejudice, of the claims of the below-listed Plaintiff Hospitals in this action. The claims of the

remaining Plaintiff Hospitals in this case shall not be dismissed, and shall remain pending in the

action. Each party shall bear its own costs, expenses, and attorneys’ fees.

        The claims of the following Plaintiff Hospitals in Case No. 19-132 shall be dismissed from

this action:

•    AnMed Health System, d/b/a AnMed Health d/b/a AnMed Health Medical Center;
•    AnMed Health System, d/b/a Cannon Memorial Hospital, Inc. d/b/a AnMed Health Cannon;
•    Copley Memorial Hospital, Inc., d/b/a Rush Copley Medical Center;
•    Fayette Community Hospital, Inc., d/b/a Piedmont Fayette Hospital, Inc.;
•    OSF Healthcare System, d/b/a OSF Heart of Mary Medical Center;
•    OSF Healthcare System, d/b/a OSF Sacred Heart Medical Center;
•    OSF Healthcare System, d/b/a Ottawa Regional Hospital & Healthcare Center d/b/a OSF
     Saint Elizabeth Medical Center;
•    OSF Healthcare System, d/b/a Saint James Hospital;
•    Piedmont Athens Regional Medical Center, Inc.;


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•   Piedmont Hospital, Inc.;
•   Piedmont Mountainside Hospital, Inc.;
•   Rush Oak Park Hospital, Inc.;
•   Scotland Health Care System, d/b/a Scotland Regional;
•   The Charlotte-Mecklenburg Hospital Authority, d/b/a Atrium Health Anson;
•   The Charlotte-Mecklenburg Hospital Authority, d/b/a Atrium Health Cleveland;
•   The Charlotte-Mecklenburg Hospital Authority, d/b/a Atrium Health Kings Mountain;
•   The Charlotte-Mecklenburg Hospital Authority, d/b/a Carolinas HealthCare System Stanly;
    and
•   The Medical Center of Central Georgia, Inc. (Provider No. 11-0107).


    The claims of the following Plaintiff Hospitals in Case No. 19-1745 shall be dismissed from

this action:

•   Franciscan Missionaries of Our Lady Health System, Inc., d/b/a Heart Hospital of Acadiana,
    LLC;
•   Franciscan Missionaries of Our Lady Health System, Inc., d/b/a Our Lady of the Angels
    Hospital;
•   Franciscan Missionaries of Our Lady Health System, Inc., d/b/a Our Lady of the Lake
    Ascension Community Hospital-St. Elizabeth Hospital;
•   Franciscan Missionaries of Our Lady Health System, Inc., d/b/a St. Francis Medical Center;
•   Hackensack Meridian Health, d/b/a Hackensack University Medical Center;
•   Hackensack Meridian Health, d/b/a JFK Medical Center;
•   Hackensack Meridian Health, d/b/a Ocean Medical Center;
•   Hackensack Meridian Health, d/b/a Palisades Medical Center;
•   Hackensack Meridian Health, d/b/a Raritan Bay Medical Center;
•   Hackensack Meridian Health, d/b/a Southern Ocean Medical Center;
•   OSF Healthcare System, d/b/a St. Mary Medical Center;
•   Shannon Medical Center; and
•   The Wooster Community Hospital Auxiliary, Inc., d/b/a Wooster Community Hospital.




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Dated: September 4, 2019                            Respectfully submitted,

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